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EXHIBIT E

 

 

Page 1
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
CONSTANCE COLLINS, ET AL
Plaintiffs : Civil Action No.:
Vs. : 1:20-cev-01225

TRI-STATE ZOOLOGICAL PARK
OF WESTERN MARYLAND, INC. ,:
ET AL

Defendants

Deposition of KEITH GOLD, DVM, was taken
via Zoom on Thursday, July 15, 2021, commencing at
12:10 p.m., at Chadwell Animal Hospital, 3004
Emmorton Road, Abingdon, Maryland, before MICHELE

D. LAMBIE, Notary Public.

Reported By:

Michele D. Lambie, CSR-RPR

 

 

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APPEARANCES:
ON BEHALF OF THE PLAINTIFFS:
PETA Foundation.

ZEYNEP GRAVES, ESQUIRE.
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JAMES ERSELIUS, ESQUIRE.
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ON BEHALF OF THE DEFENDANTS:
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KEITH GOLD,
BY MS.

KEITH GOLD,

Exhibit

Exhibit

Exhibit

Exhibit

Exhibit

Exhibit

Exhibit

Exhibit

Exhibit

 

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EXAMINATION INDEX

DVM
GRAVES

EXHIBIT INDEX
(Attached to Transcript.)

DVM

Subpoena to Testify at a

Deposition in a Civil Action

Page 3

Dr. Gold Visit/Exams Notes from 46

October 11, 2020

Animal Record - Abigail Alliga
with attachment
Animal Record - EBT #1 with

attachments

Copy of Text Messages

Animal Record - McTurt with
attachments
Animal Record - Anaconda with

attachments

Animal Record - Gold Tegu with
attachments
Animal Record - Green Iguana

with attachments

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Exhibit

Exhibit

Exhibit

Exhibit

Exhibit

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Exhibit

 

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GOLD EXHIBITS CONTINUED:

Page 4
Animal Record - Leopard Gecko 142
with attachments
Animal Record - Casper Skunk 150
with attachments
Animal Record - Bedbug Opossum 154
with attachments
Animal Record - Garcia Raccoon 163
with attachments
Certificate of Vaccination - 165
Garcia with attachment
Animal Record - Niles Porcupine i171
with attachments
Animal Record - Gizmo Coatimundi 173
and attachments
Animal Record - Diablo Bobcat 177
with attachment
Animal Record - Sebastian Bengal 186

with attachment

 

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PROCEEDINGS

(Whereupon, Gold Deposition Exhibit No.
84, Subpoena to Testify at a Deposition in a Civil
Action, marked for identification.)

KEITH GOLD, DVM,
the Deponent, called for examination via Zoom by
the Plaintiffs, being first duly sworn to tell the
truth, the whole truth, and nothing but the truth,
testified as follows:
EXAMINATION

BY MS. GRAVES:

Q. My name is Zeynep Graves, Counsel for
Plaintiff, People for the Ethical Treatment of
Animals and Constance Collins.

I'm joined by my colleagues Caitlin Hawks
and James Erselius from the PETA Foundation who are
also Counsel for Plaintiff.

Can you state and spell your full name
for the record?

A. Keith Gold. K-E-I-T-H, G-O-L-D.

Q. Have you been deposed before?

 

 

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A. Yes. That's also part of husbandry and
enrichment, so, yes. You know, whether animals can

be put together or not, whether they can be ina
colony, or whether they have to be separated, you
know, so how to help bond different animals so they
can get along; yeah. So, we've done -- we've done
a fair bit of that, too. That's -- they're all in
husbandry, really.

Q. When were you first contacted by a
representative of Tri-State?

A. Hmm. I don't know off the top of my
head, but it probably was with Dodger.

Let's see when we saw Dodger. It looks
like we saw him February 2019.

Q. And who contacted you?

A. Well, they contacted my receptionist, and
that was probably Mr. Candy. I would assume it
was -- whoops. I would assume it was Mr. Candy.

Q. And Mr. Candy or someone from Tri-State
contacted your facility regarding Dodger?

A. Correct.

 

 

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Q. Are you currently the attending
veterinarian for the animals at Tri-State?

A. I am helping him out. We have no
official paperwork or anything like that, but I am
more than willing to help him with his animals
right now; yes.

Q. So, do you have a program of veterinary

care that you've created --

A. Yeah.

QO. -- For Tri-State?

A. Yeah, we wrote one up for the monkeys, I
think it was earlier this year or -- or the end of

last year, and then that's usually updated yearly.

Q. We'll get into the primate enrichment
plan that you provided ina bit, but other than
those documents regarding primates, have you ever
put together a program of veterinary care that's
required under the Animal Welfare Act?

A. You mean for like -- I mean, I've had to
make veterinary care programs for Frisky's every

year and -- yeah. I would -- I would assume that's

 

 

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under the Animal Welfare Act. I'm not sure exactly
which part you're referring to.

Q. Do you have one of those programs in
place for the animals at Tri-State?

A. We have them for the monkeys. That's all
I've done for -- so far.

Q. Have you ever been an attending
veterinarian before?

A. I'm not sure what your definition of
attending veterinarian is. What do you mean by
that?

Q. We'll get into the definition as that
term is defined by the Animal Welfare Act --

A. Okay.

-- in a minute.

A. If you give me the definition, I can tell
you and answer your question.

Q. Do you know who Tri-State's last
veterinarian was?

A. No.

Q. Has your office ever consulted with the

 

 

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predecessor veterinarians, either Dr. Fox or
Dr. Dunean, for the --

A. We have not.

Q. So, you haven't obtained any of the

records or medical history of any of the animals?

A. No.
Q. Why not?
A. Because we haven't gotten that far. I

just started seeing him just recently.

Dodger was just an individual case, you
know, and I've been there twice over the last, I
guess, year just to check out the facility and see
what's going on, and I told him I can help him out
with some of his animals.

So, maybe it doesn't fit that definition,
and I'm not sure if it fits -- I'm not sure what
your definition is of attending veterinarian,
so --

Q. Is it your understanding that in your
capacity as Tri-State's vet that you're required to

perform certain duties pursuant to the Federal

 

 

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Animal Welfare Act and its regulations?

MR. YOUNG: Objection.

MS. GRAVES: What's your basis, Nevin?
Maybe I can cure it.

MR. YOUNG: Whenever I state the basis
for my objections, you always lecture me on
not -- on not making a speaking objection,
so -- but since you're asking for it, you're asking
the witness for a legal conclusion, and he's nota
lawyer. He's a doctor.
BY MS. GRAVES:

Q. Dr. Gold, can you answer my question? Is
it your understanding that in your capacity as
Tri-State's veterinarian, you're required to
perform certain duties pursuant to the Federal

Animal Welfare Act and its regulations?

A. I don't know that.

Q. So, you're not aware of any duties?

A. I don't know what those duties are, no.

Q. You mentioned that you've visited the zoo
twice?

 

 

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A. Correct.

QO. When were those visits?

A. October llth and -- and December 13th.

Q. And what year? Is that 2020?

A. 2020.

QO. For both dates, October llth, 2020 and
December 13th, 2020?

A. Yes. Yes, ma'am.

Q. And how long did you spend at the
facility on both those days?

A. All day. We were there from morning till
early afternoon.

QO. On both occasions?

A. Yes.

Q. And how many animals did you examine on
October l1lth, 2020?

A. We did a walk-through through the whole
zoo. We examined the ones that we could handle,

and we sedated the squirrel monkey, Spazz. I'd say
probably two or three dozen.

We examined the birds. We examined the

 

 

 

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coatimundi, the skunk, the raccoon, the singing

dog. Maxie, the singing dog, for rabies, anda lot
of the tort- -- turtles and tortoises we looked at,
so --

Q. And how many animals did you examine on

December 13th, 2020?

A. We just did the two bears.

QO. So, the Animal Welfare Act definition of
an attending veterinarian is a person who has
graduated from a veterinary school accredited
by -- accredited by the American Veterinary Medical
Association's Council on Education, or has a
certificate issued by the American Veterinary
Medical Association's Education Commission for
Foreign Veterinary, Graduates or has received
equivalent formal education as determined by the
Administrator; has received training and/or
experience in the care and management of the
Species being attended; and who has direct or
delegated authorities for activities involving

animals at a facility subject to the jurisdiction

 

 

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of the Secretary of the U.S. Department of
Agriculture.

A. I'm sorry, I lost you at the end there.
The last sentence?

Q. And who has direct or delegated authority
for activities involving animals at a facility
subject to the jurisdiction of the Secretary of the
United States Department of Agriculture.

So, based on that definition, is it your
understanding that you are currently Tri-State's
attending veterinarian?

MR. YOUNG: Objection.

THE WITNESS: Yes, I -- I'm -- I'm sorry.
Yeah.

BY MS. GRAVES:

Q. You can go ahead.

A. Yes. That fits the definition. I have
all of those criteria, so --

MS. GRAVES: I'm going to mark an
exhibit.

(Whereupon, Gold Deposition Exhibit No.

 

 

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85, Dr. Gold Visit/Exams Notes from October 11,
2020, marked for identification.)
BY MS. GRAVES:

Q. You may have to refresh the Exhibit Share

folder, but let me know when you can see Exhibit

85. Do you recognize these documents?

A. I haven't found it yet. Let's see.

Q. You may need to just hit the reload
button. It's like a circular arrow.

A. Okay. It's coming up.

Q. Okay.

A. Yeah, I think it just came up. Let
me -- it's thinking. Okay. Yeah, I see it.
It's --

Q. Do you recognize --

A. -- a record-share document.

Q. How are you able to recognize it?

A. I've got one page. Wait asec. These

are our records here.
Q. And were these your office's notes from

the --

 

 

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A. Let's see.
QO. -- October llth, 2020 visit?
A. It looks like it.
QO. And who created this record?
A. I dictated them.
Q. And why were they created?
A. Why were they dictated was the question?
Q. Why were they created?
A. So, I could have a record of what I saw

and have some memory of what I saw and try to keep
a record of what I saw and see how we can help him
in the future.
So, it was really exploratory, you know.

I was to go there and see what he had and see if we
could help him in any way.

Q. Were these notes subsequently transcribed
on each patient's animal record?

A. Yes. I think so, yes.

QO. And is this an exhaustive list of all of
the animals you saw on your October llth, 2020

visit?

 

 

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A. I think so.
Q. Approximately how long did you spend
examining each animal?
A. Each animal was different. So, sometimes

it only takes a few minutes; sometimes it took
longer depending on, you know, if we had to catch
him or -- or restrain him or find him or whatever
and if they had a problem or an issue and, of
course, what kind of animal it is.

Q. How long does it typically take you to

conduct a thorough exam of a patient?

A. A lot of times we can finish in a few
minutes.
Q. Your office produced records in response

to PETA's subpoena for documents on April 22nd,
2020. Have you --

A. Okay.

Q. -- seen or treated any animals since
April 22nd, 2020?

A. I don't think so. Yes, he brought up a

turtle that was egg bound, a red foot. I think

 

 

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that was after April 22nd. I probably don't have
that record here because it had passed away, so
it's --

QO. If there is a record of that visit, we'd
ask you to please produce that record to us as soon
as possible.

A. Oh, there is a record. It's just I don't
have it on me, you know.

Animals that pass away, we don't keep an

active folder. You know, it goes into a different
folder.
Q. Okay. Well, if -- if there are any

records of any visits or exams post April 22nd,
2020, would you mind producing those? You can send
them to me via email after this deposition.

A. Yeah. Do I have your email? I guess I
have your email. You sent me something by email.
Okay. Yeah, that's no problem.

Q. Did you examine or treat any other
animals at Tri-State after April 22nd, 2020?

A. I don't recall any other animals.

 

 

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Q. And what was wrong with the turtle who
was egg bound?
A. That was the problem with the turtle. It
had eggs, and it could not pass them.
Q. And what treatment did you provide?
A. Medical treatment to try and help the

turtle pass the eggs, and it was unsuccessful.

QO. Was that turtle euthanized?

A. No. It passed away.

Q. At your office or at Tri-State Zoo?

A. At my office.

Q. Do you recall the date?

A. No.

Q. Are you familiar with Title 9 of the Code

of Federal Regulations?

A. Not off the top of my head.

QO. Nine C.F.R., section 2.40(a) (1) provides,
each dealer and exhibitor shall employ an attending
veterinarian under formal arrangements. In the
case of a part-time attending veterinarian or

consultant arrangement, the formal arrangement

 

 

 

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Shall include a written program of veterinary care
and regularly scheduled visits to the premise of
the dealer or exhibitor.

Did you ever create a written program of
veterinary care for the animals at Tri-State?

A. No. Like I said, we're just in the
beginning process.

Q. And why not?

A. Because we're in the beginning process.
We haven't gotten that far.

QO. Are you aware that in 2012, an
Administrative Law Judge found that Mr. Candy and
Tri-State willfully violated numerous regulations
of the Animal Welfare Act?

A. I am not.

Q. Are you aware that in 2013 a Cease and
Desist Order was entered against Mr. Candy and
Tri-State ordering Mr. Candy and Tri-State to stop
violating certain regulations of the Animal Welfare
Act?

A. I am not.

 

 

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Q. Are you aware that Tri-State has been
cited by the USDA for violating certain regulations
of the Animal Welfare Act?

A. I am not.

Q. And have you reviewed any of those
citations?

A. No. No.

Q. Are you -- are you aware that a Federal
Court found in November of 2019 that Tri-State
Animal Park Care & Rescue and Mr. Candy violated
the Federal Endangered Species Act?

A. I got a hint of that from his lawyer,
that there was that, but I thought that was on

appeal or something.

QO. So, you never read that?

A. That's the impression that I got. No.
I'm not -- I don't get involved in that kind of
stuff. I just take care of the animals.

Q. For each animal in your care, you're

required by law to keep certain records, correct?

A. Yes.

 

 

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Q. And among other things, you're required
to prepare a legibly written record that accurately
and thoroughly reflects the treatment provided?

A. That sounds correct.

Q. In response to Plaintiff's -- Plaintiff
PETA's subpoena that I mentioned before, you
provided records for the treatment of animals at
Tri-State Zoo; is that correct?

A. I provided the records that you wanted on
everything that I ever did, so, yes, that's part of
it.

QO. And is there a written record of all of
the animals you examined or otherwise provided care
to?

A. Yeah. Yes. That's what you have, except
for April 22nd.

QO. So, to the extent that there's not a
written record for a specific animal, is it fair to
say that you did not examine that animal?

A. Correct.

Q. And is it fair to say that to the extent

 

 

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Q. And why not?

A. I didn't see the animal back.

Q. Did you ask to see the animal back?

A. No, no reason to.

Q. Why?

A. I mean, we knew he had -- we knew he had
a really horrific abscess, so -- and we know that's

the cause of death, so a necropsy would not be
necessary.

Q. How about a follow-up exam before the
animal had passed? Did you --

A. That would be nice. You know,
unfortunately, he's two and a half hours away, and
it's not always easy to do. But, yes, it would
have been helpful to have a follow-up exam.

We remove the stitches in six weeks, so
let's see. It was 10-22 he had the surgery; died
December 6th. So, it was about the right time for
suture removal, and that's when we usually re-check
them, so --

(Whereupon, Gold Deposition Exhibit No.

 

 

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92, Animal Record - Green Iguana with attachments,
marked for identification.)
BY MS. GRAVES:

QO. I have marked Exhibit 92. Let me know
when you can see the document.

A. I have it. I have it.

Q. Okay. Do you -- do you recognize these

documents?

A. Yes.

Q. And how are you able to recognize them?
A. They are from our hospital.

Q. And can you explain how you determined

that these two iguanas were within normal limits?

A. Because of the physical exam.

Q. What did you do during that physical
exam?

A. We look at their skin, palpate their

joints, listen to heart and lungs, palpate the
belly, open their mouths, evaluate their oral
cavity and -- and examine the tail.

Q. Did you track the color and texture of

 

 

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their urates?

A. No.

Q. And were the iguanas' diets assessed?

A. Yes. They were on leafy greens. They're
herbivores, so they -- they eat leafy greens, and
they just get a supplement with calcium.

Q. Do you know if that's recorded anywhere?

A. Well, he might have records what he feeds
it. I don't have records of that.

Q. Did the iguanas share the same enclosure?

A. They did not.

Q. They were -- were they each individually
housed?

A. Yes. I'm -- I'm pretty sure they were.

Q. And did you assess their enclosures?

A. Yes. Actually, I saw two iguanas, so

they were definitely separated.
Can you describe their enclosures?
A. I don't recall.
Q. Did you -- let me rephrase.

According to Tri-State's records, there

 

 

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are four iguanas at Tri-State. Did you ever
examine the blue iguana that was acquired on May
8th, 2021?

A. No, I haven't been back there.

QO. And how about the fourth unidentified
iguana?

A. I don't recall. I can only go by the
records that I have. That's why these cursory
exams are what we took, so I knew what we looked at
when we were there. So, I don't recall.

MS. GRAVES: I'm going to mark our next
exhibit.

THE WITNESS: Okay.

(Whereupon, Gold Deposition Exhibit No.
93, Animal Record - Leopard Gecko with attachments,
marked for identification.)

MR. YOUNG: Counsel, just I'm going to
make a suggestion because the Doctor said he didn't
expect this to take this long, --

THE WITNESS: Yeah.

MR. YOUNG: -- and I'm going to

 

 

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suggest -- I mean, we're perfectly agreeable to
rescheduling to finish on another day if you wanted
to break at like 4 maybe because he said he has to
be somewhere at 5.

THE WITNESS: I have to pick up my son.

MR. YOUNG: And although I know seven
hours is allowed by the federal rules, it is the
maximum for a reason, and seven hours is pretty
atypical for a deposition in my experience. And,
you know, three or four hours is more usual, so
that's just my suggestion, which I would make
and -- you know, as a convenience to everyone.

MS. GRAVES: Okay. Thank you, Mr. Young.
I'm trying to get through this as quickly as
possible. There were obviously some technical
issues at the beginning.

THE WITNESS: Yeah, sorry about that.
BY MS. GRAVES:

QO. And if -- you know, Dr. Gold, if -- if

we -- if you can't make alternative arrangements,

then --

 

 

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A. Yeah. It was like a gazebo. It
was -- it was pretty nice. They -- they had
aerials down around the bottom to get around with.
Q. And you said not yet. Have you discussed

with Mr. Candy about scheduling any follow-up

exams?

A. I'm sorry, say it again.

Q. You said not yet when I asked about
conducting --

A. I told him I need to look at the --

Q. I'll rephrase. Have you discussed with

Mr. Candy about conducting a follow-up exam with

the zoo?

A. Yeah. We just haven't organized it yet.
QO. So, nothing has been scheduled?

A. Nothing has been scheduled, right.

Q. And there's no documentation of the plans

for a future follow-up?
A. No, not yet. When it's scheduled, I
guess there will be, I guess, documentation.

(Whereupon, Gold Deposition Exhibit No.

 

 

 

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100, Animal Record - Diablo Bobcat with attachment,
marked for identification.)
BY MS. GRAVES:

Q. I'm introducing Exhibit 100. Let me know

when you can see it.

A. Diablo, the bobcat.

Q. Do you recognize this document?

A. Yes, it's from our hospital.

Q. Did Diablo ever receive a physical exam

while you were the Tri-State veterinarian?

A. No.

Q. And why do you laugh?

A. Because you said Tri-State veterinarian.
I'm -- I'm not a Tri-State veterinarian. I'ma

veterinarian that helps Tri-State. That's why.

Q. Understood. And why didn't you
physically examine the bobcat?

A. Because we weren't there to knock anybody
out at that point. Like I said, it was to go up
there and to see what they have and see how I can

help him.

 

 

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It's also a very, very old bobcat, so you
definitely want to have supplemental oxygen if
you're going to knock him out there to do an exam.

So, basically, I saw that as a very
geriatric bobcat, 22-year-old bobcat. It's like a
20-year-old cat or a hundred-year-old person; very,
very old.

So, you don't want to necessarily knock
him out unless you have -- you have a good reason
to do that, so -- but we weren't there for that
anyway.

Like I said, we went -- we went up there
in October to see what animals they have and
whether I was going to -- whether I was willing to
help them out or not, provide some veterinary care

for their animals, and that was --

Q. Did you --
A. -- that was the purpose.
Q. Did you diagnose the bobcat with

arthritis?

A. No. He was already diagnosed by previous

 

 

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veterinarians.
Q. And did you -- you didn't review

Dr. Duncan's records regarding the bobcat, correct?

A. Correct.

Q. And did you prescribe the fish oil and
cosequin?

A. Cosequin. Those are all over-the-counter

supplements, and he was already on something like
that, but we did -- I recommended the cosequin and
fish oil, but he was already on some supplements
already, and it was -- it may have been the same
thing, I don't recall, because I think it says on
cosequin and fish oil.

So, I think he was already on those
products, but they're over-the-counter anyway. So,
he could have gotten them himself, and all they can
do is help.

You know, it's kind of like oiling the
tin man, and you can see he was a little hunched in
the back, though, and he had arthritis, which is

normal at that age. Sorry. Arthritis is normal at

 

 

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that age.
Q. Did you discuss dosage with Mr. Candy
about the cosequin and fish oil?
A. I don't recall, but if I -- if I -- I

kind of recall that he probably was on it already,
so we did talk -- we did talk a little bit about
it, but we didn't go over dosage.

Q. Were you aware that Tri-State's previous
attending veterinarian, Dr. Duncan, had prescribed
Meloxicam for the bobcat?

A. I was not.

Q. And according to Dr. Duncan's testimony,
on June 30th, 2021 Diablo appeared to be in pain,
and Mr. Candy declined to continue to provide
Diablo with Meloxicam. Were you aware of that?

A. I was not, but that would be probably
dangerous to continue Meloxicam ina cat at that
age. That may even contribute to his death,
because Meloxicam can certainly kill the kidneys in
a cat.

So, an anti-steroidal is -- is not very

 

 

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safe in cats. So, I don't know if I would have
used Meloxicam anyway, and it probably would have
not done enough for that cat.

If she "thought he was in pain," what she
could have done is, you know, increased the
cosequin and increase the fish oil, restrict his
activity, make sure he can get up -- he didn't
climb on higher objects, limit his environment so
he can't hurt himself getting around, but Meloxicam
is not safe for -- for cats, and if he was on it at
any point, that could have been part of his -- part
of Diablo's demise.

So, I don't use Meloxicam in felines.

There's a high risk of kidney failure with

that, --

Q. Did you.

A. -- especially in a 22 year old.

Q. Did you provide anything for pain
management?

A. We discussed doing supplementation. That

is pain management.

 

 

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Q. Was Diablo provided with that?

A. As far as I understand, he was.

Q. But that's not recorded on your record
here in Exhibit 100?

A. No. It says that he was on cosequin and
fish oil.

Q. Oh, sorry. I misunderstood you earlier.
You -- you said you discussed cosequin?
That's --

A. That's a joint protectant and that is

pain management, part of pain management, but a
nonsteroidal -- yeah, he probably could have used
some Gabapentin, too, but, you know, I didn't
examine him. So, I can't really prescribe until
he's examined.

And especially Gabapentin, because that's
a controlled substance, and, you know, you've got
to tread lightly with an animal at that age. And
it's normal to have arthritis that age. You know,
they're not designed to live that long.

You know, it's a blessing and a curse

 

 

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getting older. Okay.
Q. Do you know if Diablo was ever examined
by a veterinarian while --
A. I have no idea. I assume he was, because

he was there a long time, and I don't know what the
vets did before.

I just know that they don't help him any
more because, apparently, you guys scared
them -- scared the vets off. That's why he has to
find a vet two and a half, three hours away to get

help here, but I assume it was examined more than

once.

I mean, he should have -- I'm sure he had
to keep up on rabies vaccines for this -- for this
animal. I mean, that's a USDA responsibility, you
know.

A USDA vet inspects these areas, these
things, so, yeah. So, I would, I guess, talk to
the USDA vet about that, you know, or he has -- he
has records of it. So, you have to talk to him

about that. It was before my time.

 

 

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Q. Did you -- did Mr. Candy tell you that
PETA scared the vets off?
Yes.
And what specifically did he tell you?
That's what he told me.

You haven't spoken to the vets?

_ oO PO

No. He told me they were afraid to help

him any more because they were, you know, I guess

put through seven-hour depositions or -- or
whatever.
Q. And how did Mr. Candy say that PETA

scared off the vets?

A. I don't remember verbatim, but that was
the -- that's what he told me.
QO. You had mentioned that Diablo had passed,

So you were aware that Diablo died on November
3lst, 2021?

A. Yeah. He let us know. He must have
called us and told us.

Q. And no necropsy was performed, correct?

A. Correct.

 

 

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Q. And why not?
A. Well, he wasn't my patient. He was 22
years old, and that is not a surprise.

You know, we don't do a necropsy on every
animal these days. That's not something that, you
know, anybody does, you know, unless we think
there's an infectious agent or feral animals in the
enclosure that need to be checked out, but rarely
do we do necropsies, you know, especially ina
22-year-old bobcat.

You know, it could have been skittish, it
could have been anything, but you can't help the
animal with necropsy.

Q. And did you do anything to verify the
bobcat's age?

A. No.

Q. Did you do anything to verify any of the
ages of the animals at Tri-State?

A. No. I went by what we were told. You
can't really verify their age without -- you know,

the owners tell you what they tell you. Hopefully,

 

 

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they are not telling you misinformation.
Why do you think his age is different
than 22?
I'm just asking you the questions.
A. Yeah, I'm sorry. Okay.
MR. YOUNG: Maybe he started drinking
once he turned 21.
THE WITNESS: That -- that would be his
liver.
(Whereupon, Gold Deposition Exhibit No.
101, Animal Record - Sebastian Bengal with
attachment, marked for identification.)
BY MS. GRAVES:
QO. I have marked Exhibit 101. Let me know

when you can see it.

A. Got it.

Q. Do you recognize this document?

A. Yes. It's from the hospital.

Q. And did you physically examine the bengal
cat?

A. I did not.

 

 

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State of Maryland
County of Baltimore, to wit:

I, Michele D. Lambie, a Notary Public of
the State of Maryland, County of Baltimore, do
hereby certify that the within-named witness
personally appeared before me at the time and place
herein set out, and after having been duly sworn by
me, according to law, was examined by counsel.

I further certify that the examination
was recorded stenographically by me and this
transcript is a true record of the proceedings.

I further certify that I am not of
counsel to any of the parties, nor related to any
of the parties, nor in any way interested in the
outcome of this action.

As witness my hand and notarial seal this

16th day of July 2021.

. they hcl D Kenlee

 

 

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